Case 1:20-cv-00390-RJJ-RSK ECF No. 26, PageID.212 Filed 01/25/21 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

JASON MATTHEWS,
                                                     Case No. 1:20-cv-390
               Plaintiff,
                                                     HON. ROBERT J. JONKER
v.

ZENCO COLLECTIONS LLC,

            Defendants.
__________________________/

                                     PROOF OF SERVICE

       On January 25, 2021, the undersigned served Plaintiff’s First Requests to Produce

Documents to Defendants CJ Acquire, LLC, Christopher M. Arnold, and Jessica Lynn Arnold, by

serving Charity A. Olson as the attorney of record for defendants CJ Acquire, LLC, Christopher

M. Arnold, and Jessica Lynn Arnold, via the United States Postal Service, first class mail,

postage prepaid, addressed as follows:

Charity A. Olson
P.O. Box 64
Hartland, Michigan 48353


Dated: January 25, 2021                              /s/ Phillip C. Rogers
                                                     Phillip C. Rogers (P34356)
                                                     Attorney for Plaintiff
                                                     6140 28th Street S.E., Suite 115
                                                     Grand Rapids, Michigan 49546-6938
                                                     (616) 776-1176
                                                     ConsumerLawyer@aol.com
